                    Case: 1:25-mj-02046-JEG Doc #: 5 Filed: 02/27/25 1 of 1. PageID #: 21

$2 5HY 2UGHU6FKHGXOLQJD'HWHQWLRQ+HDULQJ



                                       81,7('67$7(6',675,&7&2857
                                                                    IRUWKH
                                                           Northern District of Ohio
                                                       BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                   8QLWHG6WDWHVRI$PHULFD
                              Y                                             &DVH1R 1:25mj2046

                        Elyssia Sanabria
                              Defendant

                                          ORDER SCHEDULING A DETENTION HEARING


          $GHWHQWLRQKHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV


3ODFH 801 West Superior Avenue                                             &RXUWURRP1R 11A
         Cleveland, Ohio 44113
                                                                            'DWHDQG7LPH 3/6/25 2:00 pm


        IT IS ORDERED:3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
0DUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH




'DWH            02/27/2025                                                                  s/James E. Grimes Jr.
                                                                                                Judge’s signature



                                                                               James E. Grimes Jr., United States Magistrate Judge
                                                                                              Printed name and title
